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 7                      UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF WASHINGTON
 9   UNITED STATES OF AMERICA,
10
                          Plaintiff,
11
                                                      Case No.: 2:21-CR-72-RMP
12                   v.
13                                                    Motion for Detention
     JODY LEE WALLETTE,
14
15                        Defendant.
16
           The United States moves for pretrial detention of Defendant, pursuant to 18
17
18   U.S.C. § 3142(e) and (f).
19
           1.    Eligibility of Case. This case is eligible for a detention order because
20
21   the case involves (check one or more):
22
           ☐     Crime of violence (as defined in 18 U.S.C. § 3156(a)(4) which
23
24   includes any felony under Chapter 77, 109A, 110 and 117);
25
           ☐     Maximum penalty of life imprisonment or death;
26
27         ☒     Drug offense with maximum penalty of 10 years or more;
28

     Motion for Detention- 1
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 1         ☐      Felony, with two prior convictions in above categories;
 2
           ☐      Felony that involves a minor victim or that involves the possession or
 3
 4   use of a firearm or destructive device as those terms are defined in 18 U.S.C.
 5
     § 921, or any other dangerous weapon, or involves a failure to register under 18
 6
 7   U.S.C. § 2250;
 8         ☒      Serious risk Defendant will flee; or
 9
10         ☒      Serious risk obstruction of justice.
11
           2.     Reason for Detention. The Court should detain Defendant because
12
13   there is no condition or combination of conditions which will reasonably assure
14   (check one or both):
15
16         ☒      Defendant's appearance as required; or

17         ☒      Safety of any other person and the community.
18
19         3.     Rebuttable Presumption. The United States will invoke the rebuttable
20   presumption against Defendant under 18 U.S.C. § 3142(e). The presumption
21
     applies because there is probable cause to believe Defendant committed:
22
23         ☒      Drug offense with maximum penalty of 10 years or more;
24
25         ☐      An offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

26
           ☐      An offense under 18 U.S.C. §§ 2332b (g)(5)(B) for which a maximum
27
28   term of imprisonment of 10 years or more is prescribed;

     Motion for Detention- 2
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 1           ☐     An offense under chapter 77 of Title 18, United States Code, for
 2
     which a maximum term of imprisonment of 20 years or more is prescribed;
 3
 4           ☐     An offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
 5
     2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
 6
 7   2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or
 8   2425;
 9
             ☐     Other Circumstance as defined in 18 U.S.C. § 3142(e)(2).
10
11           4.    Time for Detention Hearing. The United States requests the Court
12
     conduct the detention hearing:
13
14           ☐     At the first appearance, or
15
16           ☒     After a continuance of three days.

17           5.    Other Matters.
18
19
20           Dated: July 27, 2021.
21
                                                   Joseph H. Harrington
22                                                 Acting United States Attorney
23
                                                   s/Dominique Juliet Park
24
                                                   Dominique Juliet Park
25                                                 Assistant United States Attorney
26
27
28

     Motion for Detention- 3
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 1                             CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on July 27, 2021, I electronically filed the foregoing
 4   with the Clerk of the Court using the CM/ECF system which will send notification
 5
     of such filing to the Counsel of Record.
 6
 7
 8
                                                   S/Dominique Juliet Park
 9                                                 Dominique Juliet Park
10                                                 Assistant United States Attorney
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     Motion for Detention- 4
